Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 1 of 44 Page ID #:18
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 2 of 44 Page ID #:19
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 3 of 44 Page ID #:20
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 4 of 44 Page ID #:21
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 5 of 44 Page ID #:22
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 6 of 44 Page ID #:23
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 7 of 44 Page ID #:24
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 8 of 44 Page ID #:25
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 9 of 44 Page ID #:26
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 10 of 44 Page ID #:27
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 11 of 44 Page ID #:28
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 12 of 44 Page ID #:29
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 13 of 44 Page ID #:30
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 14 of 44 Page ID #:31
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 15 of 44 Page ID #:32
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 16 of 44 Page ID #:33
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 17 of 44 Page ID #:34
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 18 of 44 Page ID #:35
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 19 of 44 Page ID #:36
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 20 of 44 Page ID #:37
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 21 of 44 Page ID #:38
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 22 of 44 Page ID #:39
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 23 of 44 Page ID #:40
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 24 of 44 Page ID #:41
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 25 of 44 Page ID #:42
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 26 of 44 Page ID #:43
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 27 of 44 Page ID #:44
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 28 of 44 Page ID #:45
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 29 of 44 Page ID #:46
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 30 of 44 Page ID #:47
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 31 of 44 Page ID #:48
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 32 of 44 Page ID #:49
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 33 of 44 Page ID #:50
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 34 of 44 Page ID #:51
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 35 of 44 Page ID #:52
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 36 of 44 Page ID #:53
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 37 of 44 Page ID #:54
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 38 of 44 Page ID #:55
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 39 of 44 Page ID #:56
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 40 of 44 Page ID #:57
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 41 of 44 Page ID #:58
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 42 of 44 Page ID #:59
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 43 of 44 Page ID #:60
Case 5:17-cv-02288-DOC-SHK Document 1-1 Filed 11/09/17 Page 44 of 44 Page ID #:61
